                        Case 2:20-cr-00135-DWA Document 77 Filed 12/06/21 Page 1 of 7
AO 245B (Rev. 09/ 19)   Judgment in a Crim inal Case
                        Sheet I



                                           UNITED STATES DISTRICT COURT
                                                        Western District of Penn sylvania
                                                                            )
              UNITED STATES OF AMERICA                                      )        JUDGMENT IN A CRIMINAL CASE
                                    V.                                      )
                  MATTHEW MICHANOWICZ                                       )
                                                                            )        Case Number: 2:20-cr-1 35
                                                                            )        USM Number: 02325-509
                                                                            )
                                                                            )         Kenneth J. Haber
                                                                            )        Defendant's Attorney
THE DEFENDANT:
li1 pleaded guilty to count(s)
D pleaded no lo contendere to count(s)
  which was accepted by the court.
D was found guil ty on count(s)
  after a plea of not guil ty .

The defendant is adjudicated gui lty of these offenses:

Title & Section                    Nature of Offense                                                          Offense Ended
20 USC sec. 5861(d)                Possession of an unregistered firearm/destructive devise                   5/31/2020




       The defendant is sentenced as provi ded in pages 2 through          _ _ 7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

D The defendant has been found not guil ty on count(s)

D Count(s)                                               Dis        Dare dismissed on the motion of the United States.
                -------------
          It is ordered that the defendant must notify th e United States attorney for thi s district within 30 days of any change of name, residence,
or mai ling address until all fines, restitution, costs, and specia l assess ments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in econom ic circumstances.

                                                                                                            12/6/2021
                                                                           Date of Imposition of Judgment




                                                                           Signature of Judge




                                                                                 Donetta W. Ambrose, United States Senior District Judge
                                                                          Name and Title of Judge


                                                                                                            12/6/2021
                                                                          Date
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AO 245B (Rev. 09/ 19) Judgment in Criminal Case
                      Sheet 2 - lmpri sonment

                                                                                                      Judgment -   Page   2     of   7
 DEFENDANT: MATTHEW MICHANOWICZ
 CASE NUMBER: 2:20-cr-135

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  time served .




      D The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      D    The defendant shall surrender to the United States Marshal for this district:

           D at      - - - - - -- - - -
                                                  D a.m.       D p.m.           on

           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D   before 2 p.m. on

           D   as notified by th e United States Marshal.

           D   as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
I have executed this judgment as follows :




          Defendant deli vered on                                                          to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certifi ed copy of this judgment.



                                                                                                   UN ITED STATES MARSHAL



                                                                           By
                                                                                                DEPUTY UN ITED STATES MARSHAL
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AO 245B (Rev. 09/ 19) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                          Judgment-Page -   =--    of
DEFENDANT: MATTHEW MICHANOWICZ
CASE NUMBER: 2:20-cr-135
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

     3 years.




                                                     MANDATORY CONDITIONS
I.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
        impri sonment and at least two periodic drug tests thereafter, as determined by.the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (check if applicable)
4.       D You must make restitution in accordance with 18 U.S .C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.       ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       D   You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       D   You must participate in an approved program for domestic vio lence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                                Judgment-Page - - - - - of - - - - --            -
DEFENDANT: MATTHEW MICHANOWICZ
CASE NUMBER: 2:20-cr-135

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior whil e on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you wi ll receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must li ve at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you li ve with), you must notify the probation officer at least IO days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least IO
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer with in 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly comm unicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, am munition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causi ng bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the perm ission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer re lated to the conditions of supervision .



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these condition s, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ------------
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AO 2458 (Rev. 09/19)   Judgment in a Crimin al Case
                       Sheet 38 - Superv ised Release
                                                                                             Judgment-Page   - =5-   of       7
DEFENDANT: MATTHEW MICHANOWICZ
CASE NUMB ER: 2:20-cr-135

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 1. The defendant shall not illegally possess a controlled substance .

 2. The defendant shall not possess a firearm , ammunition , destructive device , or any other dangerous weapon .

 3. The defendant shall be placed on home detention for a period of 180 days , to commence as soon as arrangements can
 be made by the Probation Office. The defendant shall abide by all technology requirements . The location monitoring
 technology requirement, i.e. , Radio Frequency (RF), Global Positioning System (GPS), or Voice Recognition , or Virtual
 Supervision Monitoring, is at the discretion of the probation officer. During the period of home detention , the defendant
 shall remain at their residence except for employment; education ; religious services ; medical, substance abuse , or mental
 health treatment; attorney visits ; court appearances ; court-ordered obligations; or other activities as preapproved by the
 probation officer. During th is time , the defendant shall comply with the ru les of the location monitoring program and may be
 required to ma intain a landline telephone, withou t special features , at the defendant's place of residence . The defendant
 shal l pay all or part of the costs of participation in the location monitoring program as directed by the court and probation
 officer, but not to exceed the daily contractual rate .

 4. The defendant shall participate in a program of testing and , if necessary, treatment for substance abuse, said program to
 be approved by the probation officer, until such time as the defendant is re leased from the program by the Court. The
 defendant shall submit to one drug urinalysis within 15 days after being placed on supervision and at least two periodic
 tests thereafter.

 5. It is further ordered that the defendant shall not intentionally purchase , possess and/or use any substance(s) designed to
 simulate or alter in any way the defendant's own urine specimen . In addition , the defendant shall not purchase , possess
 and/or use any device(s) designed to be used for the submission of a third party urine specimen .

 6. The defendant shall not use or possess alcohol.

 7. The defendant shall participate in a mental health assessment and/or treatment program approved by the probation
 officer, until such time as the defendant is released from the program by the Court. The Probation Office is authorized to
 release the defendant's presentence report to the treatment provider if so requested .

 8. The defendant shall submit his person , property, house , residence , vehicle , papers , business or place of employment, to
 a search , conducted by a United States Probation or Pretrial Services Officer at a reasonable time and in a reasonable
 manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of supervision . Failure to
 submit to a search may be grounds for revocation . The defendant shall inform any other residents that the premises may
 be subject to searches pursuant to this condition .

 9. The defendant shall participate in the United States Probation Office's Workforce Development Program as directed by
 the probation officer.

 10. The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant to 28 C.F.R. §
 28.12, the DNA Fingerprint Act of 2005 , and the Adam Walsh Child Protection and Safety Act of 2006 .

 11 . The defendant shall notify the Probation Office and the US Attorney's Office of any anticipated change of address .
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AO 245 B (Rev. 09/19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                              Judgment - Page       6    of        7
 DEFENDANT: MATTHEW MICHANOWICZ
 CASE NUMBER: 2:20-cr-135
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment               Restitution                 Fine                      AV AA Assessment*            JVT A Assessment**
 TOTALS            $    100.00               $                           $   0.00                  $                            $



 D    The determination of restitution is deferred until
                                                         -----
                                                               . An Amended Judgment in a Criminal Case (A O 245C) will be
      entered after such determination .

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                   Total Loss* **                    Restitution Ordered          Priority or Percentage




TOTALS                                $                          0.00               $                        0.00
                                                                                        ----------

D      Restitution amount ordered pursuant to plea agreement $

D     The defendant mu st pay interest on restitution and a fine of more than $2,5 00, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 36 I 2(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to I 8 U .S.C. § 36 I 2(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the           D   fine      D    restitution.

       D    the interest req uirement for the        D    fine       D   restitution is modified as follows :

* Amy, Vicky 1 ~nd Andy Child Pomograph_y Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for victims of Trafficking Act of2015 , Pub . L. No. 114-22.
*** Findings for the tota l amount of losses are required under Chapters 109A, I 10, 1 1OA , and 1 13A of Title            18 for offenses committed on
or after September 13 , 1994, but before April 23, 1996.
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AO 245 8 (Rev. 09/ 19)   Judgment in a Crimin al Case
                         Sheet 6 - Schedul e of Payments

                                                                                                                   Judgment - Page   - ~Z-   of
 DEFENDANT: MATTHEW MI CHANOWICZ
 CASE NUMB ER: 2:20-cr-135

                                                           SCHEDULE OF PAYMENTS

 Having assessed th e defendant' s ability to pay, payment of the total criminal monetary penalties is due as fo llows:

 A     ~     Lum p sum payment of$           100.00                due immedi ately, balance due


             •      not later than                                      , or
             •      in accordance with
                                            •    C,    •    D,
                                                                   •     E, or     D    F below; or

 B     •     Payment to begin imm ediately (may be combined with                 • c,        D   D, or     D    F below); or

 C     D     Payment in equa l       _ _ _ _ _ (e.g. , weekly, monthly, quarterly) insta llments of $ ____ over a period of
                             (e .g. , months or years), to commence
                                                                 _ _ _ _ _ (e .g. , 30 or 60 days) after th e date of thi s judgment; or

 D     D     Payment in equal        _ __ _ _          (e .g., weekly, monthly, quarterly) in stallments of $
                                                                                                          ____ over a period of
                             (e.g. , months or years), to commence      _ _ _ _ _ (e.g., 30 or 60 days) after release fro m imprisonment to a
             term of supervis ion; or

 E     D     Payment during the term of supervised release will commence wi thin _ _ _ _ _ (e.g., 30 or 60 days) after release fro m
             imprisonment. The court will set the payment pl an based on an assessment of the defendant' s ability to pay at that time; or

 F     D     Special instructions regarding the payment of crimi nal mon etary penalties:




Unless the court has expressly ordered oth erw ise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of impri sonm ent. All criminal monetary penalties, except those payments made through the Federa l Bureau of Prisons ' Inmate
Fin anci al Respon sibi lity Program, are made to the clerk of the court.

The defendant shall receive credit fo r all payments previo usly made toward any crim inal monetary penalties imposed.




D      Jo int and Several

       Case Number
       Defendant and Co-Defendant Names                                                        Joint and Several               Corresponding Payee,
       (including defendant number)                           Total Amount                          Amoun t                        if appro priate




D      The defendant shall pay the cost of prosecuti on.

D      The defendant shall pay the fo llow ing cou rt cost(s):

Ill    The defendant shall fo rfe it the defendant's interest in the fo ll ow ing property to the Un ited States:
       3 destructive devises described in the Indictment.


Payments sha ll be applied in the fo llowing order: (1) assessment, (2) restitution princjpal, (3) restitution interest, (4) AVAA assessment,
(5) fin e prin cipal, (o) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (1 0) costs, including cost of
prosecuti on and court costs.
